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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 35 J[`_!H 27 PH in l _j
ran z“=. L)_e "~.-':1.:0
PATRICIA MACKEY, ) ,1 1- j-__'§§
) 11‘..»‘. '_/'!' ti , .\.1....:.1.
Plaintiff, )
) Civil Action No. 04-3045 Ma/V
v )
)
FEDERAL EXPRESS, )
)
Defendant. )

 

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Pursuant to Rule 26(t) of the F ederal Rules of Civil Procedure, counsel for the
parties in the above-captioned matter conferred by telephone on Wednesday, June 22,
2005. Participating in this Rule 26(t) conference were Patricia Mackey, Plaintiff, and T.

Robert Reid, counsel for Defendant.

At the Rule 26(t) conference, the following dates were established as the final

dates for:
INITIAL DISCLOSURES (RULE 26(a)(1)):

Within 14 days aHer the noticed Rule 16(b) Scheduling Conference, by July 14,

2005.

JOINING PARTIES:
For Plaintifi`: Within 2 months after the noticed Rule 16(b) Scheduling
Conference, by August 30, 2005.
For Defendant: Within 3 months after the noticed Rule 16(b) Scheduling

Conference, by September 30, 2005.

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with Fiule 58 and/or 79(a) FRCP on “ '

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AMENDING PLEADINGS:

For Plaintiff: Within 2 months after the noticed Rule l6(b) Scheduiing

Conference, by August 30, 2005.

For Defeodant: Within 3 months after the noticed Rule l6(b) Scheduling

Conference, by September 30, 2005.

COMPLETING ALL DISCOVERY:

Within 8 months after the Rule l6(b) Scheduling conference, by February 28,

2006.

(3)

(b)

(C)

REQUESTS FOR PRODUCTION, INTERROGATORIES and

REQUESTS FOR ADMISSIONS: Within 8 months after the Rule l6(b)

Scheduling Conference, by February 28, 2006.

EXPERT DISCLOSURE (Rule 26(a)(2)):

(i) Plaintiff’s Experts: No later than 2 months before close of

discovery, by December 30, 2005.

(ii) Defendant’s Experts: No later than l month before close of

discovery, by January 30, 2006.

(iii) Supplementation under Rule 26(e): Within 10 days after
Defendant’s disclosure

DEPOSITIONS OF EXPERTS:

Same as discovery deadline (by February 28, 2006) unless a later date is

authorized by the Court due to special circumstances

FILING DISPOSITIVE MOTIONS:

Within 1 month after close of discovery, by March 30, 2006.

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FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):
(a) For PIaintiff: 45 days before trial
(b) For Defendant: 30 days before trial
Parties shall have 10 days after service of final lists of witnesses and

exhibits to file objections under Rule 26(a)(3).

The trial of this matter is expected to last 2 to 3 days. PIaintiff did not demand a
jury trial in the complaint The presiding judge will set this matter for NON-JURY
TRIAL. In the event the parties are unable to agree on a joint pretrial order, the parties
must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by
the deadline for completion of discovery. F or example, if the FRCP allow 30 days for a
party to respond, then the discovery must be submitted at least 30 days prior to the
deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or service of the response, answer, or objection which is
the subject of the motion if the default occurs within 30 days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown, or any
objection to the defauit, response, or answer shall be waived

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, and 60, shall be accompanied by a

proposed Order and a Certificate of Consultation.

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The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. If a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate
Judge can normally provide the parties with a definite trial date that will not be continued
unless a continuance is agreed to by all parties, or an emergency arises which precludes
the matter from proceeding to trial.

The parties are ordered to engage in court-annexed attorney mediation or
private mediation on or before the close of di_seo verv.

This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this Order will not be
modified or extended.

IT IS SO ORDERED.

U/c w `7@ zee/er

DIANE K. VESCOVO
United States Magistrate Judge

 

Date: O/CV/LC ¢’?5-, ¢?”"5~

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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:04-CV-03045 was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

